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FoR THE wEsTERN DISTRICT oF TENNESSEE

WESTERN DIVISION

 

UNITED STATES OF AMERICA

v. No. 04-20354-3
CHRIS BURNETT

 

ORDER CONTINUING ARRAIGNMENT AND
SPECIFYING PERIOD OF EXCLUDA.BLE DELAY U'N'DER TI'IE SPEEDY TRIAL ACT

 

The Government's counsel has notified the Court that in the
interests of justice that this matter be continued. Pursuant to
the Speedy'Trial Act, as set in 18 U.S.C. §3161(h)(8)(A), defendant
period of excludable delay may be granted if the ends of justice
are served.

The Report date is therefore continued and reset to Thursday,
Auqust 4, 2005, at 11:00 a.m. in Courtroom.#M-3¢ 9th Floor, Federal
Building, 167 N. Main Street, Memphis, Tennessee.

It is therefore ORDERED that the time period of Jdly 7c 2005
through, August 3c 2005 be excluded from the time its imposed by
the Speedy Trial Act for trial of this case, due to the interests

of justice.

This 6977§" day Of Juiy, 2005. `
r"”“d

S. Thomas Anderson
UNITED STATES MAGISTRATE JUDGE

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UNITED sTAsTE usTRCTl COURT - WESERNT DISITRCT oFTENNEssEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:04-CR-20354 Was distributed by faX, mail, or direct printing on
July 8, 2005 to the parties listed.

 

 

Vivian R. Donelson

U.S. ATTORNEY'S OFFICE
167 N. Main St.

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Honorable J. Breen
US DISTRICT COURT

